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                         In the United States District Court
                        For The Northern District of Illinois
                                  Eastern Division


 JOSEPH W. DENAN,
 ADRIENNE L. PADGETT,
 individually and on behalf of persons
 similarly situated,
                                                            No. __________________
                 Plaintiffs,

   v.

 TRANS UNION, LLC,

                 Defendant.



              PLAINTIFFS’ ORIGINAL CLASS ACTION COMPLAINT


         Plaintiffs, Joseph W. Denan and Adrienne L. Padgett, bring this action, individually and on
behalf of others similarly situated, against Defendant, Trans Union, LLC (“TransUnion”).
TransUnion has unlawfully reported illegal, void, and uncollectible loans from Plain Green, LLC

(“Plain Green”) and Great Plains Lending, LLC (“Great Plains”) (collectively, “the Payday
Lenders”) as having a balance due on Plaintiffs’ consumer reports in violation of the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. §§ 1681i(a) and 1681e(b), violating their legally protected
reputational rights and putting them at risk for denial of credit, housing, and/or employment.

                                 I. JURISDICTION AND VENUE

         1.   This Court has jurisdiction in this action pursuant to 28 U.S.C. § 1331 in that this
action arises under the laws of the United States.
         2.   Venue is proper in the Northern District of Illinois under 28 U.S.C. § 1391 because
TransUnion resides in this District and the violations giving rise to Plaintiffs’ claims occurred here.
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                                             II. PARTIES

       3.      Plaintiff, Joseph Denan, is a resident of Egg Harbor Township, New Jersey. Mr. Denan

brings this action on behalf of himself and a class of similarly situated persons who had void and
uncollectible loans from Plain Green, LLC inaccurately reported as having a balance due on their
TransUnion credit reports and also on behalf of subclasses who had balances inaccurately reported
as past due and whose void and uncollectible loans TransUnion continued to report despite
requests that TransUnion reinvestigate and remove the void and uncollectible debts.
       4.      Plaintiff, Adrienne L. Padgett, is a resident of Gainesville, Florida. Ms. Padgett brings
this action on behalf of herself and a class of similarly situated persons who had void and
uncollectible loans from the Payday Lenders inaccurately reported as having a balance due on their
TransUnion credit reports, and also on behalf of a subclass who had balances inaccurately reported
as past due.
       5.      Defendant Trans Union, LLC is a Delaware limited liability company with its principal
place of business in Chicago, Illinois. TransUnion is wholly owned by Trans Union Corp., a
Delaware corporation. Trans Union Corp.’s principal place of business is in Chicago, Illinois.

                                        III. INTRODUCTION

       6.      Like old-fashioned “loan sharks,” online payday and installment lenders’1 business
model is to take advantage of poor (and increasing numbers of middle-class) Americans who have
no savings to cover unexpected expenses. They charge unconscionably high interest rates, typically

1
 The term “payday loan” is generally recognized as a loan of short duration, typically two weeks,
coinciding with the borrower’s next payday. An “installment loan” is a small-dollar consumer loan
with terms that allow for the repayment of the debt over a period of months, generally with bi-
weekly or monthly payment terms. In many states, the consumer finance laws address the legality
of “payday loans” and “installment loans” through the same lending statutes. Plaintiffs may refer
to the loans and lending practices at issue in this litigation as “payday loans” or “payday lending,”
even though the loans to Plaintiffs and members of the Class may be more accurately defined as
installment loans. Regardless of whether the term “payday loan” or “installment loan” is used
hereafter, the lending practices at issue pertain to loans by unlicensed lenders, such as Plain Green
and Great Plains, made to borrowers at usurious interest rates in the “Included States,” as that
term is defined below.


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exceeding 300%. Unwitting, or simply desperate, consumers often receive only a few hundred
dollars, but end up owing thousands of dollars in interest. These usurious interest rates can make

it difficult or impossible for consumers, already in difficult financial straits, to ever free themselves
from debt.
        7.   Seeking to protect their citizens from such exploitative debt traps, many states have
outlawed high-interest, small-dollar loans. Arkansas, Florida, Georgia, Illinois, Indiana, Kansas,
Maryland, Massachusetts, Montana, New Jersey, New York, North Carolina, Ohio, Oregon,
Vermont, Virginia, and West Virginia (the “Included States”) have gone even further, passing
laws that high-interest loans for amounts of less than $3,000 are void and uncollectible. The
Included States so strongly disapprove of usurious payday and installment loans that, as a matter
of public policy, their legislatures have decided that purported “loans” in violation of their statutes
are not legally due. Attempting to evade these state laws, payday lenders such as Plain Green and
Great Plains nevertheless offer high-interest loans to residents of the Included States over the
internet.
        8.   The Payday Lenders openly admit that they do not follow the Included States’ laws.
Flouting all legal accountability, they baselessly contend that no state or federal laws may be applied
to them because they falsely claim “sovereign immunity” through spurious associations with
Native American tribes. Think Finance, LLC, created the Payday Lenders, Plain Green and Great
Plains, in association with two Native American tribes, the Chippewa Cree Tribe and Otoe-
Missouria Tribe (collectively the “Tribes”), respectively, using the rent-a-tribe business model to
falsely claim that the business interests share the privileges and immunities enjoyed by the Tribes.
The Tribes, however, receive less than five percent of the business revenue and are in no sense
true owners of the Payday Lenders. Moreover, it is well established that Native American tribes
(even if the Payday Lenders’ were truly sovereign entities) are subject to state consumer-
protection laws when they operate businesses outside tribal reservations and deal with state-
resident consumers who are not members of the tribes, as the Payday Lenders do.




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         9.   The three major national credit reporting agencies (“CRAs”)—Equifax, Experian,
and TransUnion—occupy a key position of trust in modern American financial life. Any American

who wishes to apply for a job, a home mortgage, insurance coverage, or any kind of credit is well
advised to first check his or her credit report. Inaccurate or negative information on these widely-
used, authoritative reports places consumers at risk of being denied credit, a job, or housing, or
paying more than they otherwise would for credit or insurance. TransUnion regularly includes
information reported by the Payday Lenders in TransUnion’s consumer reports, including
reporting illegal, void, and uncollectible loans made to residents of the Included States as due and
owing.
         10. TransUnion’s decision to inaccurately report loans from the Payday Lenders to
residents of the Included States as if they were legally valid and collectible is not only objectively
inaccurate as a matter of clearly established legal rules, it also adds a veneer of legitimacy to the
Payday Lenders’ illegal conduct. By placing their major-CRA “stamp of approval” on void and
uncollectible loans, and by reporting past-due balances when consumers exercise their legal rights
not to repay these illegal loans, TransUnion undermines the Included States’ public policy and
aids and abets the Payday Lenders’ illegal scheme.
         11. Plaintiffs bring this action on behalf of themselves and a Class of all residents of the
Included States who TransUnion inaccurately reported had a balance due to the Payday Lenders,
as well a Subclass of residents of the Included States whose Online Payday loans TransUnion
inaccurately reported as past due. Additionally, Plaintiff Joseph Denan brings this action on behalf
of himself and a Subclass of all residents of the Included States who disputed reporting of the illegal
loans with TransUnion. Despite the disputes, TransUnion failed to use reasonable reinvestigation
practices as required by the FCRA and continued to inaccurately report the illegal loans as due and
owing on the Subclass members’ credit reports.
         12. All purported loans by the Payday Lenders to residents of the Included States are void
and uncollectible as a matter of clearly established law, as TransUnion either knew or recklessly
ignored.


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       13. Despite the fact that these loans are void and uncollectible, TransUnion routinely,
systematically reported amounts as having a balance due from the Class members to the Payday

Lenders. This systematic policy of reporting void and uncollectible debts as due and owing violates
the FCRA’s requirement that CRAs follow “reasonable procedures” to ensure the “maximum
possible accuracy” of consumer reports. 15 U.S.C. § 1681e(b). Plaintiffs and the Class members
accordingly: suffered injuries to their statutorily protected reputational rights, as well as being
exposed to the risk that they might be denied a job, housing, credit, or insurance; pay more for
credit or insurance than they otherwise would have; or pay debts they did not owe in order to avoid
negative information appearing on their credit reports.

                                IV. FACTUAL ALLEGATIONS

   A. Inaccurate Statements in Joseph Denan’s Credit Report
       1.   Mr. Denan’s Loan and Payment History
       14. On or about November 15, 2017, Plaintiff, Joseph Denan, took out a short-term
installment loan from Plain Green for $1,600.
       15. As TransUnion has known at all times relevant to this suit, Mr. Denan is a resident of
the State of New Jersey.
       16. At the time of the loan, Plain Green informed Mr. Denan that payments of $187.41
would be withdrawn from his bank account every two weeks.
       17. Mr. Denan was not told by Plain Green that (a) it is an unlicensed lender in the state
of New Jersey; (b) he would be making 40 payments ending in May 2019; (c) his finance charges
for the loan would be $5,894.44; or (d) the annual percentage rate for his loan would be 316.13%,
more than ten times the legal interest rate under New Jersey law.
       18. Under New Jersey law, Plain Green’s purported loan to Mr. Denan is void and
uncollectible as a matter of clearly established law. Because Plain Green is not licensed to make
loans in New Jersey and because it charges interest at rates that far exceed those permitted by New
Jersey law, Mr. Denan has no obligation to make payments to Plain Green.


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         2.   TransUnion’s Credit Report on Mr. Denan, Dated May 8, 2018
         19. Plain Green reported to TransUnion that it had made an unsecured loan to Mr. Denan.

         20. At all times relevant to this suit, TransUnion has known that Mr. Denan submitted a
request for a void and uncollectible loan from Plain Green on or about November 15, 2017.
         21. TransUnion was aware that Mr. Denan was a New Jersey resident at the time that he
completed the Plain Green loan application.
         22. Mr. Denan’s TransUnion credit report noted payment delinquencies and a pay status
of “Account 60 Days Past Due Date.” The credit report includes the following information and
chart on the void and uncollectible Plain Green debt:

                       Date Opened: November 15, 2017
                       Date Updated: March 31, 2018
                       Last Payment: February 26, 2018
                       Pay Status:   Current; Paid or Paying as Agreed
                       Maximum Delinquency of 60 days in Feb. 2018 and March 2018 for $404
                          03/2018       02/2018        01/2018        12/2017   11/2017
    Balance                   $2,689                       $2,269        $2,239     $1,808
    Scheduled                   $404                        $404          $404        $404
    Payment
    Amount Paid                                           $0           $0          $0
    Past Due                   $404                     $404         $404          $0
    Remarks                                                           PNR
    Rating                   60           60          30           30          OK
      Figure 1: TransUnion’s May 8, 2018 Consumer Report Regarding Mr. Denan’s Loan2

         23. The TransUnion credit report indicates that the balance due on Mr. Denan’s loan was
growing at an exponential rate and the $404 “monthly payments” were past due in December
2017, January 2018, and March 2018.
         24. The credit report fails to list any of Mr. Denan’s payments as an “amount paid.”
Instead, it asserts that the first payment was never received.


2
  The shading in the table is consistent with the original shading on Mr. Denan’s report. According
to the TransUnion report, “60” signifies “60 days late”; “30” signifies “30 days late”; “PNR”
indicates “first payment never received.”


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         25. This report is inaccurate because it reports that amounts are “past due” when in fact,
under clearly established New Jersey law, Plain Green’s purported loan to Mr. Denan is void and

uncollectible, and no amounts are due or owing from Mr. Denan to Plain Green.
         3.   Plain Green Communications with Mr. Denan
         26. On or about April 20, 2018, Mr. Denan contacted Plain Green and offered to pay the
principal amount of the loan, which was $1,600.
         27. On May 8, 2018, Plain Green sent an email to Mr. Denan, noting its willingness to
resolve the loan for $1,669.98 in payments in addition to the $1,000 Mr. Denan had already paid.
         28. On May 14, 2018, Mr. Denan’s counsel sent a letter to Plain Green requesting a copy
of the loan documents that had been denied to Mr. Denan as well as his payment history.
         29. In an e-mail to Mr. Denan on May 16, 2018, Plain Green agreed to accept a total of
$1,500 in payments on the $1,600 loan that it had made six months earlier.

         4.   Mr. Denan’s Dispute of the Plain Green Loan to TransUnion and Its
              Investigation Results
         30. In May 2018, Mr. Denan sent a letter to TransUnion’s Dispute Team, which stated in
part:

         This document will serve as an official dispute of the account PLAIN GREEN LLC
         #4298 that contains incorrect information on my credit report. This company is an
         UNLICENSED pay day loan company. They are NOT permitted to grant such
         loans in the state of NJ and did so without disclosing that fact. . . . Since they illegally
         issued such a loan in the state of NJ, I believe that the loan is not valid and there was
         no legal obligation for me to repay any of the loan. . . . With the lack of confidence
         that consumers are already experiencing with the credit bureaus due to breaches
         and hacks, it is appalling that your company does business with and allows illegal
         lenders to utilize your service. I have made several attempts to contact this lender
         and they will not respond. I would like this information deleted form my report. You
         may search the website of Plain Green Loans and see that they do not do business
         in NJ yet they illegally continue to process applications for predatory loans. Your
         services are meant to protect not only the lender but the consumer as well. You have
         failed to do so.
         31. TransUnion reportedly conducted an investigation of Mr. Denan’s dispute on the
Plain Green loan.


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       32. On May 16, 2018, TransUnion responded and sent a report with the results of its
investigation to Mr. Denan.

       33. TransUnion determined that the disputed loan was “verified as accurate,” but it
updated Mr. Denan’s credit report with new information as of May 15, 2018, as follows:

                         Balance:      $1,569
                         High Balance: $2,689
                         Date Updated: May 15, 2018
                         Last Payment: May 14, 2018
                         Pay Status:   Current; Paid or Paying as Agreed
                         Remarks:      PAYING PARTIAL PMT AGMT
                         Maximum Delinquency of 60 days in February 2018
                         04/2018     03/2018     02/2018      01/2018    12/2017      11/2017
 Rating                     X           X           60           30        30           OK
                           Figure 2: TransUnion’s Investigation Results

“60” signifies “60 days late”; “30” signifies “30 days late”; and “X” indicates “Unknown.”
       34. Despite a “current” payment history with the most recent payment on May 14, 2018,
the TransUnion May 16, 2018 report indicates that Mr. Denan’s payment rating is “unknown”
for the months of March and April 2018.
       35. TransUnion acknowledged in its May 16, 2018 report that the pay status for the illegal

Plain Green loan was current and “paid or paying as agreed”; however, TransUnion inaccurately
reported that the total amount due was $1,569.

       36. TransUnion refused to take the Plain Green loan off of Mr. Denan’s report.
       5.   TransUnion Continues to Report the Plain Green Loan
       37. TransUnion continues to report the void and uncollectible Plain Green loan on Mr.
Denan’s credit report.
       38. On June 24, 2018, TransUnion updated Mr. Denan’s credit report with less than one-
week of new information from Plain Green (date updated by Plain Green: May 21, 2018), as follows:

                         Balance:      $1,569
                         High Balance: $2,767
                         Date Updated: May 21, 2018


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                      Last Payment: May 14, 2018
                      Pay Status:    Current; Paid or Paying as Agreed
                      Remarks:       PAYING PARTIAL PMT AGMT
                      Maximum Delinquency of 60 days in March 2018
                      04/2018        03/2018        02/2018         01/2018  12/2017
    Rating              C/O            60              30              30      OK
     Figure 3: TransUnion’s June 24, 2018 Consumer Report Regarding Mr. Denan’s Loan3
          6. TransUnion’s Report of the Plain Green Loan Harms Mr. Denan’s Credit
          39. TransUnion continues to report 30-day and 60-day delinquencies on Mr. Denan’s
credit report, despite the fact that, under clearly established New Jersey law, the loan by the

unlicensed lender is illegal and uncollectible, and no amounts are due and owing from Mr. Denan
to Plain Green.
          40. On May 24, 2018, Mr. Denan spoke with a TransUnion representative about the
inaccurately reported delinquencies with Plain Green on his credit report. TransUnion’s
representative acknowledged that these delinquencies had reduced Mr. Denan’s credit score by 37
points.
          41. As a result of TransUnion’s reporting of this information, Mr. Denan was denied his
statutory right that TransUnion must follow reasonable procedures to assure maximum possible
accuracy of the information that it reports about his credit history, violating his legally protected
reputational interests and exposing him to a risk of being denied credit, housing, employment, or
insurance; of paying more than he otherwise would for credit or insurance; or of paying a debt he
does not owe in order to avoid negative information appearing on his credit report.
          42. TransUnion disclosed and reported Mr. Denan’s delinquent payment history on Plain
Green’s void and uncollectible debt to third parties through “regular inquiries” and “account
review inquiries.”




3
 The shading in the table is consistent with the original shading on Mr. Denan’s report. According
to the TransUnion report, “C/O” signifies “charged-off.”


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   B. Inaccurate Statements in Adrienne Padgett’s Credit Report
       1.   Ms. Padgett’s Plain Green Loan and Payment History

       43. On or about January 9, 2018, Plaintiff, Adrienne Padgett, took out a short-term
installment loan from Plain Green for $1,600.
       44. As TransUnion has known at all times relevant to this suit, Ms. Padgett is a resident
of the State of Florida.
       45. At the time of the loan, Plain Green informed Ms. Padgett that payments of $196.54
would be withdrawn from her bank account every two weeks.
       46. Ms. Padgett was not told by Plain Green that (a) it is an unlicensed lender in the state
of Florida; (b) she would be making payments ending in July 2019; (c) her finance charges for the
loan would be $6,259.85 (for a total of $7,859.85 in payments on the void and uncollectible loan);
or (d) the annual percentage rate for her loan would be 317%, which is more than 15 times the legal
interest rate under Florida law and more than seven times the rate defined as criminal usury.
       47. Under Florida law, Plain Green’s purported loan to Ms. Padgett is void and
uncollectible as a matter of clearly established law. Because Plain Green is not licensed to make
loans in Florida and because it charges interest at rates that far exceed those permitted by Florida
law, Ms. Padgett has no obligation to make payments to Plain Green.
       48. Despite the fact that loan is void and uncollectible, Ms. Padgett made a payment of
$700 to Plain Green in February 2018.
       2.   Ms. Padgett’s Great Plains Loan and Payment History
       49. On or about December 15, 2016, Ms. Padgett took out a short-term installment loan
from Great Plains for $900.
       50. At the time of the loan, Great Plains informed Ms. Padgett that payments of $109.64
would be withdrawn from her bank account every two weeks.
       51. Ms. Padgett was not told by Great Plains that (a) it is an unlicensed lender in the state
of Florida; (b) she would be making payments through March 2018; (c) her finance charges for the
loan would be $2,607.35 (on top of the repayment of principal); or (d) the annual percentage rate


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for her loan would be 317%, which is more than 15 times the legal interest rate under Florida law
and more than seven times the rate defined as criminal usury.

       52. Under Florida law, Great Plains’ purported loan to Ms. Padgett is void and
uncollectible as a matter of clearly established law. Because Great Plains is not licensed to make
loans in Florida and because it charges interest at rates that far exceed those permitted by Florida
law, Ms. Padgett has no obligation to make payments to Great Plains.
       53. Despite the fact that the loan is void and uncollectible, Ms. Padgett made two
payments totaling $219.28 to Great Plains.
       3.   TransUnion’s Credit Report on Ms. Padgett, Dated June 1, 2018
       54. TransUnion’s credit report about Ms. Padgett, dated June 1, 2018, indicates that the
Payday Lenders reported to TransUnion that they had made unsecured loans to Ms. Padgett.
            a.   Credit Report Data on Ms. Padgett’s Plain Green Loan
       55. At all times relevant to this suit, TransUnion has known that Ms. Padgett submitted a
request for a void and uncollectible loan from Plain Green on or about January 5, 2018.
       56. TransUnion was aware that Ms. Padgett was a Florida resident at the time that she
completed the Plain Green loan application.
       57. TransUnion’s credit report on Ms. Padgett noted payment delinquencies, including
the following information and chart on the illegal and void Plain Green debt:

                    Date Opened: January 5, 2018
                    Date Updated: April 30, 2018
                    Last Payment: February 28, 2018
                    Pay Status:   Account 30 Days Past Due Date
                    Remarks:      PAYING PARTIAL PMT AGMT
                    Maximum Delinquency of 30 days in March 2018 and in April 2018 for $426
                           04/2018           03/2018        02/2018           01/2018
 Balance                        $2,585                            $1,513           $2,005
 Scheduled Payment               $426                              $426              $426
 Amount Paid                        $0                             $700                 $0
 Past Due                        $426                                 $0                $0
 Rating                       30               30             OK                OK
   Figure 4: TransUnion’s Consumer Report Regarding Ms. Padgett’s Plain Green Loan


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        58. The TransUnion credit report reflects that the balance due on Ms. Padgett’s loan was
growing at an exponential rate, her payment history was rated as 30-days late for two months, and

the $426 “monthly payment” was past due in April 2018.
           b. Credit Report Data on Ms. Padgett’s Great Plains Loan
        59. At all times relevant to this suit, TransUnion has known that Ms. Padgett submitted
a request for a void and uncollectible loan from Great Plains on or about December 15, 2016.
        60. TransUnion was aware that Ms. Padgett was a Florida resident at the time that she
completed the Great Plains loan application.
        61. For the Great Plains loan, Ms. Padgett’s TransUnion credit report notes a payment
delinquency of 30 days and the status of “Charged Off” 4 for the illegal and void debt. Great Plains
reportedly closed the account on April 4, 2017, noting “Maximum Delinquency of 30 days in
02/2017.” The credit report also includes the following information and chart on the illegal and
void Great Plains debt:

                       Date Opened: December 15, 2016
                       Date Updated: April 4, 2017
                       Last Payment: January 5, 2017
                       Pay Status:    Charged Off
                       Remarks:       PURCHASED BY ANOTHER LENDER;
                                      UNPAID BALANCE CHARGED OFF
                       Maximum Delinquency of 30 days in February 2017
                          04/2017        03/2017     02/2017       01/2017              12/2016
    Balance                        $0                                  $1,042                $915
    Scheduled                      $0                                    $236                $236
    Payment
    Amount Paid                    $0                                        $109            $109
    Past Due                       $0                                          $0              $0
    Rating                   C/O            C/O              30            OK              OK



4
  “In credit reporting industry terms, charged off and written off are considered final status
indicators for the account, meaning the account is no longer an active entry in your credit report. .
. . The fact that it is a charged off account means it would be scored negatively.”
https://www.experian.com/blogs/ask-experian/defining-charged-off-written-off-and-
transferred/ (last visited July 20, 2018).


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   Figure 5: TransUnion’s Consumer Report Regarding Ms. Padgett’s Great Plains Loan

       4.   TransUnion’s Report of the Loans Harms Ms. Padgett’s Credit
       62. Ms. Padgett’s credit report identifies 30-day delinquencies in the payments to both of
the Payday Lenders for illegal and void debts. The report also indicates that one of the debts has
been Charged Off and sold to a debt collector.
       63. The report is inaccurate because it reports that amounts are “past due” when in fact,
under clearly established Florida law, the purported loans to Ms. Padgett are void and

uncollectible, and no amounts are or ever were due or owing from Ms. Padgett to either Plain Green
or Great Plains.
       64. As a matter of clearly established law, no amounts are, or ever were, due and owing
from Ms. Padgett to the Payday Lenders, as TransUnion easily could have and should have
discovered but knowingly or recklessly ignored.
       65. As a result of TransUnion’s reporting of this information, Ms. Padgett was denied her
statutory right that TransUnion must follow reasonable procedures to assure maximum possible
accuracy of the information that it reports about her credit history, violating her legally protected
reputational interests and exposing her to a risk of being denied credit, housing, employment, or
insurance; of paying more for credit or insurance than she otherwise would have; or of paying
money she did not owe in order to avoid negative information appearing on her credit report.
       66. TransUnion disclosed and reported delinquent payment history on the Payday
Lenders’ void and uncollectible debts to third parties through “regular inquiries” and “account
review inquiries.”

                                   V. CLASS ALLEGATIONS

   A. TransUnion Must Screen the Furnishers of Credit Data

       67. TransUnion must accurately transcribe, store, and communicate consumer
information received from a source that it reasonably believes to be reputable.




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       68. TransUnion must establish and follow procedures to screen potential furnishers of
credit data in order to be reasonably certain that the data received is valid and accurate.

       69. TransUnion puts prospective furnishers through an initial security screening.
Screening generally includes an inspection of features of each business such as its physical
headquarters, phone number, website, and business license, as well as company records such as
annual reports. The screening process also may include consultation with in-house or third-party
investigation services that screen for illegal or unethical business history.
       70. After the initial screening and inspections, TransUnion may re-inspect its new
furnisher, including re-inspections after risk events such as consumer complaints, suspicious trade
lines, variations in data submissions, anomalies, and changes in company ownership.
       71. When a credit reporting agency learns or should reasonably be aware of errors in its
reports that may indicate systematic problems (by virtue of information from consumers, report
users, from periodic review of its reporting system, or otherwise), it must review its procedures for
assuring accuracy and take any necessary steps to avoid future problems.

   B. TransUnion Knew or Recklessly Ignored that the Payday Lenders’ Loans were Void
      and Uncollectible in the Included States

       72. Neither of the Payday Lenders is a licensed lender in any of the Included States (or,
indeed in any state in the United States).
       73. The Payday Lenders operate via the internet in the Included States (and, indeed in
every state in the United States).
       74. The Payday Lenders provide unlicensed lending services to borrowers
       75. The list of lenders licensed to make loans in the Included States is publicly available
information. The Nationwide Multistate Licensing System (“the NMLS”) is a nationwide
platform and the leading public resource for evaluating whether a lender is licensed.
www.nmlsconsumeraccess.org (last visited July 20, 2018). The NMLS is the system of record for
non-depository, financial services licensing or registration in participating state agencies, and it is
the official system for companies and individuals seeking to apply for, amend, renew and surrender


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license authorities managed through NMLS by 63 state or territorial governmental agencies.
https://mortgage.nationwidelicensingsystem.org/about/Pages/default.aspx (last visited July 20,

2018).




https://mortgage.nationwidelicensingsystem.org/news/Pages/ExpandedUse.aspx (last visited
July 20, 2018).
         76. Additionally, most of the Included States have regulatory authorities that make
information about lenders’ license status available to the public, including for example: Arizona
Department of Financial Institutions, Arkansas Securities Department, Connecticut Department
of Banking, Florida Department of Financial Regulation, Georgia Industrial Loan Commissioner,
Georgia Department of Banking, Illinois Department of Financial and Professional Regulation,
Indiana Department of Financial Institutions, State Bank Commissioner of Kansas, Maryland


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Department of Financial Regulation, Massachusetts Division of Banks, New Jersey Department of
Banking, New York Department of Financial Services, North Carolina Commissioner of Banks &

Financial Institutions, Ohio Department of Commerce, Oregon Department of Financial
Regulators, Pennsylvania Department of Banking and Securities, Virginia Bureau of Financial
Institutions , and West Virginia Department of Financial Institutions.
       77. Plain Green’s website plainly discloses, as TransUnion in the exercise of minimal
diligence could have and should have discovered but knowingly or recklessly ignored, that the
interest rates it charges are in excess of the applicable statutory interest-rate caps in all of the
Included States:
           a. “Your loan's total cost depends upon the amount that you're approved for and your
               payment history. For example, the Annual Percentage Rate (APR) for a loan of
               $700      is   413.00%      with      24    bi-weekly    payments      of    $106.43.”
               https://plaingreenloans.com/Faq.aspx (last visited July 20, 2018).
           b. The loan calculator for Plain Green’s lending practices indicates loan repayment at
               a rate of 438% interest. https://plaingreenloans.com/LoanCost.aspx (last visited
               July 20, 2018).
       78. Similarly, in an exercise of minimal diligence, TransUnion should have discovered that
Great Plains makes loans at interest rates that are greatly in excess of the Included States’ statutory
interest-rate caps:
           a. The Great Plains “Home Page” states: “First-time Great Plains Lending
               customers typically qualify for an installment loan of $100 to $1,000 with an APR
               of 328.11% to 448.76%, which is less than the average 662.58% APR for a typical
               payday loan. For example, a $500 loan from Great Plains at 328.11% APR would
               require 16 bi-weekly installment payments of $74.18. After the 16th successful
               payment, your loan would be paid in full. An average payday loan of $500 with an
               APR of 662.58% and a fourteen (14) day term would require one payment of
               $627.07. Average payday loan pricing is based on Texas-originated loans facilitated


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                 by Credit Service Organizations/Credit Access Businesses such as CashNet USA®
                 (664.30%), ChecknGo® (661.75%) and Ace Cash Express® (661.69%) as of May 19,

                 2016.” https://www.greatplainslending.com (last visited July 20, 2018).
           b. “Your total cost depends upon the size of the loan for which you qualify and your
                 payment history. As an example, the Annual Percentage Rate (APR) for a loan of
                 $500     is    328.11%,     with    16     bi-weekly     payments        of   $74.18.
                 https://www.greatplainslending.com/faq (last visited July 20, 2018).
           c. The Great Plains loan calculator indicates that it charges 448.76% interest for loans
                 of $400 or less. https://www.greatplainslending.com/loan-cost-and-terms (last
                 visited July 20, 2018).
       79. The Payday Lenders’ unlicensed practice of extending high-interest loans, which are
void and uncollectible as a matter of law in the Included States, has been the subject of national
news, such as:

                 Payday loans typically come with high interest rates that can add
                 hundreds or thousands of dollars to the original loan amount and
                 trap poor borrowers in a cycle of debt. For this reason, many states
                 have cracked down on payday lenders. Fourteen states and the
                 District of Columbia ban payday loans altogether, and all of the
                 remaining states regulate payday lending to some degree. . . .

                 “Too many hardworking people are trapped by the manipulative
                 tactics of payday lenders, from exorbitant interest rates to deceptive
                 debt collection practices,” New York Attorney General Eric
                 Schneiderman told The Huffington Post. “Law enforcement
                 agencies must stay vigilant in order to protect families from
                 scammers and illegal lenders looking to exploit them.” . . . .

                 Plain Green makes small, short-term, high-interest loans to people
                 all over the country who have no other source of credit. Although
                 the company is nominally owned by the Chippewa Cree, the tribe
                 has little actual involvement in its operations and receives a tiny
                 fraction of the revenue generated by the business.

                 The tribe has received an estimated $28 million to $32 million from
                 Plain Green since it was created, according to documents obtained


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              by HuffPost that were filed in tribal court as part of a case between
              the tribe’s former chairman and other tribal leaders that involves the
              agreement with Think Finance. A March 11, 2011, agreement
              between the tribe and Think Finance submitted as an exhibit in that
              case says that Plain Green had received 4.5 to 5.5 percent of the
              revenues collected by the operation, meaning Think Finance and
              other third parties received an estimated $500 million to $700
              million. . . .

              “The very purpose of an online lender affiliating with a tribe is
              specifically and expressly so that they can lend in violation of state
              laws,” Ellen Harnick, a payday lending expert at the Center For
              Responsible Lending, told HuffPost. And it’s the poorest Americans
              — the ones who need quick cash to address the most pressing issues
              in their lives — who are most at risk.

              State regulators have taken numerous measures to protect
              borrowers, passing laws limiting the size and frequency of short-
              term loans and setting maximum interest rates that lenders can
              charge borrowers. Laws in 14 states and D.C. that outlaw payday
              lending make online, high-interest installment lending illegal as
              well. The Consumer Financial Protection Bureau is also in the midst
              of writing the first federal payday lending regulations. . . .

              The Think Finance-Plain Green business model is representative of
              these growing online payday lending operations. The loans, and
              millions of dollars of fees paid to Think Finance, pass through Plain
              Green and circumvent state regulations, while the real work of
              running the lending business happens elsewhere. Thanks to Think
              Finance’s online lending platform, Plain Green is able to make loans
              all over the country. Eventually, the loans end up owned by a
              Cayman Islands servicing company. And Plain Green, which cites
              the Chippewa Cree’s sovereignty in its lending agreement with
              customers, says that state and federal regulators have no legal
              standing to complain. . . . After entering into its arrangement with
              the Chippewa Cree, Think Finance also made deals with two other
              tribes: the Otoe-Missouria in Oklahoma, which run Great Plains
              Lending, and the Tunica-Biloxi in Louisiana, which run MobiLoan.
Ben Walsh, “Outlawed By The States, Payday Lenders Take Refuge On Reservations,” (posted
June 29, 2015, updated Dec. 6, 2017) https://www.huffingtonpost.com/2015/06/29/online-

payday-lenders-reservations_n_7625006.html (emphasis added) (last visited July 20, 2018).




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       80. The Payday Lenders’ illegal practices have been well-recognized for more than five
years. For example, in June 2012, the U.S. Consumer Financial Protection Bureau issued Civil

Investigative Demands to Plain Green, Great Plains, and one other payday lender, investigating
unlawful practices relating to the advertising, marketing, provision and collection of small-dollar
loan products in violation of Federal consumer protection laws. The CFPB investigation led to
litigation against the Payday Lenders’ loan originator, Think Finance, for its “participation in the
collection   of      void   loans.”    https://files.consumerfinance.gov/f/documents/cfpb_think-
finance_complaint_112017.pdf (last visited July 20, 2018). The litigation received media attention
that TransUnion knew about or recklessly ignored:

                  The Consumer Financial Protection Bureau filed a lawsuit against
                  Think Finance LLC, alleging the company collected payments on
                  debts consumers did not owe.

                  The CFPB’s complaint, filed in United States District Court
                  District of Montana, alleges that Think Finance, an online loan
                  servicer based in Addison, Texas, “collects on loans that are void
                  under state laws governing interest rate caps or the licensing of
                  lenders,” according to a news release from the CFPB. The loans are
                  void under laws in 17 states.

                  These actions are violations of the Dodd-Frank Act and Consumer
                  Protection Act, according to the CFPB.

                  “The bureau alleges that Think Finance made deceptive demands
                  and illegally took money from consumers’ bank accounts for debts
                  that were not legally owed. The CFPB seeks to recoup relief for
                  harmed consumers and impose a penalty,” the news release said.

                  Think Finance has extended credit and collected payments online
                  since 2011 and also provides software technology, analytics and
                  marketing services to financial clients in the consumer lending
                  industry, according to the complaint. The company also provides
                  similar services, including extending credit and collecting payments,
                  on behalf of three lending businesses owned by Native American
                  Tribes: Great Plains Lending LLC, MobiLoans LLC and Plain
                  Green LLC, according to the complaint.




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                Specifically, the CFPB alleges that Think Finance charged interest
                rates “high enough to violate usury laws in some states where they
                did business and violation of these usury laws renders particular
                loans void.”

                The company also allegedly did not obtain licenses to issue loans or
                collect payments in certain states, a practice that also renders
                particular loans void, and made electronic withdrawals from
                consumers’ bank accounts and demanded payments by phone or in
                writing.
https://www.acainternational.org/news/cfpb-files-federal-lawsuit-against-online-loan-servicer

(last visited July 20, 2018).
        81. Additionally, the Payday Lenders have been the subject of reports related to their
marketing and lending practices in the context of other litigation:

                Great Plains Lending and Plain Green Loans have stopped
                marketing new loans pending the outcome of a court case in which
                the NY Attorney General sued another payday lender for offering
                loans in the State of New York. Both these lenders are operated by
                Think Finance as tribal entities under the premise that they can
                export their tribal laws into states. The New York regulator's
                position is that it has the authority to regulate tribal lenders doing
                business in New York. They sent cease-and-desist orders to many
                online payday lenders offering loans New York.

                Both Great Plains Lending and Plain Green Loans stopped
                marketing in the middle of August 2013 and very briefly re-started
                marketing on Oct 1, 2013 but quickly stopped again after The U.S.
                District Court for the Southern District of New York ruled in favor
                of New York. It ruled that the state can regulate lenders making
                loans to New York state residents even when loans are originated
                from offices on tribal land.

                Since reporting on this change at the end of 2013 we have not seen a
                change in marketing from either Great Plains Lending or Plain
                Green Loans. There has been a notable industry-wide shift away
                from the tribal lending model. Or, to be more specific, we have seen
                tribal lenders taking a more stealth mode to marketing while new
                entrants have entered the space but are all pursuing the state license
                path. It appears Think Finance, the main operators of Great Plains
                and Plain Green, is taking the same approach. They continue to



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               invest online marketing dollars into, Rise Credit, their other short-
               term loan business, while stopping with the other two.
https://www.thepaydayhound.com/learn/great-plains-lending-and-plain-green-loans-stop-
marketing/ (originally published Oct. 3, 2013; updated Nov. 14, 2015) (last visited July 20, 2018).
       82. The Payday Lenders admit in their standard loan agreements that they do not follow
the laws of the Included States (or any United States state or federal law), instead claiming, that

they are not subject to the laws of any state of the United States. Flouting the consumer-protection
authority of the sovereign states in which they do business, the Payday Lenders entirely ignore
state law and see United States federal law as an optional, non-binding “guideline,” stating in their
standard loan agreements that they will “voluntarily use certain federal laws as guidelines for the
provision of services.”
       83. Plain Green and Great Plains hold themselves out as tribal governmental lending arms
of the Chippewa Cree Tribe of the Rocky Boy’s Reservation in Montana and the Otoe Missouria
Tribe of Indians in Oklahoma, respectively. However, they plainly do business in the Included
States—off of the tribal reservations and, thus, beyond the Tribal sovereign legal authorities.
Moreover, the Payday Lenders have a high-volume internet business, extending loans outside tribal
lands with citizens of the Included States, who are not members of the Tribes. It is well established
that even if the Payday Lenders were sovereign entities, they are subject to applicable state and
federal law when they conduct business outside of tribal lands with consumers who are not
members of the tribe. See Otoe-Missouria Tribe of Indians v. N.Y. State Dep’t of Fin. Servs., 974 F.
Supp. 2d 353 (S.D.N.Y. 2013), aff’d, 769 F.3d 105 (2d Cir. 2014).

   C. TransUnion Knowingly Adds Inaccurate Data about the Payday Lenders’ Void and
      Uncollectible Loans to Consumers’ Credit Reports

       84. TransUnion is a consumer reporting agency that provides consumer reports to
employers, landlords, and creditors.
       85. The Payday Lenders contract with TransUnion to furnish consumer credit data.




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       86. To obtain the ability to compile and furnish credit data about their borrowers to
TransUnion, the Payday Lenders had to undergo an application process, pay a membership fee,

and obtain corporate software from TransUnion.
       87. In the process of applying to TransUnion for furnisher status, the Payday Lenders had
to provide information about their business practices, which may have included on-site
inspection(s) by TransUnion representatives.
       88. Through the application and screening process and/or its re-inspection regarding the
Payday Lenders, TransUnion knew or should have known:
           a. The Payday Lenders are not licensed to make loans in the Included States;
           b. The Payday Lenders charge interest on their loans at rates that are usurious and
               illegal based on the laws of the Included States; and
           c. The Payday Lenders have no legal basis to pursue collection of their borrowers’
               debts in any United States state or federal court in the Included States.

   D. State Laws Prohibit the Collection of High-Interest Loans by Unlicensed Lenders

       89. Many states have enacted strict laws that govern the terms of short-term, small-dollar

consumer loans, often referred to as “payday” loans or “installment” loans. State lending laws
usually limit the amount of interest that can be legally charged and often impose licensing and/or
regulatory requirements on lenders. Some states outlaw the concept of payday lending, while

others impose civil and criminal usury penalties for violation of state laws. Such laws reflect the
states’ strong public policies to protect state residents from abusive lending practices.
       90. The Included States have passed laws that loans made in violation of the interest rate
caps and/or licensure requirements are void as a matter of law, and the lender has no right to collect
any principal, interest, or other charges. In other words, if a lender ignores the law and makes an
illegal loan, the borrower has no obligation to repay the loan, and the lender has no legal basis to
collect money from consumers. These Included States are:




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       91. Arizona. In Arizona, there is an interest rate cap of 36 percent plus a five percent
finance fee. Ariz. Rev. Stat. § 6-632 (Consumer Lenders Act). “[A] person, whether located

in [Arizona] or in another state, shall not engage in the business of a consumer lender without first
being licensed,” and this licensing requirement cannot be avoided by “any device, subterfuge or
pretense.” Ariz. Rev. Stat. § 6-603(A) and (B). If a lender makes a loan of $10,000 or less
without a license, the unlicensed lender has no right to collect any principal, finance charges, or
other fees in repayment of the consumer’s loan. Ariz. Rev. Stat. §§ 6-601(5)-(7), 6-602(B),
6-603(A), 6-613(B).
       92. Arkansas. Under Arkansas law, interest charged on consumer loans may not exceed
an annual rate of 17 percent. Ark. Const. amend. 89, § 3; Ark. Code Ann. §§ 4-57-104, 4-
57-105. All contracts “having a rate of interest in excess of the maximum lawful rate shall be void
as to principal and interest.” Ark. Const. amend. 89, § 6(b).
       93. Florida. Consumer loans by an unlicensed lender to Florida residents may not exceed
18 percent. Fla. Stat. §§ 516.01(2), 516.03, 516.031. Any loan agreement that charges interest
at a rate greater than permitted by statute is not enforceable. Fla. Stat. §§ 516.02(2)(c),
687.071(7).
       94. Georgia. For loans of $3,000 or less with interest charged at an annual rate exceeding
eight percent, the lender must be licensed by the state. Ga. Code Ann. §§ 7-3-6, 16-17-2.
Otherwise, the lender is in violation of the Georgia Industrial Loan Act and the Payday Lending
Act. Id. Under such circumstances, the lender is barred from collecting on the indebtedness,
because such transactions are “void ab initio.” Ga. Code Ann. §§ 7-3-29(a), 16-17-2, 16-17-3.
       95. Illinois. Under the Illinois Consumer Installment Loan Act, a lender must be licensed
to engage in the business of making loans of $40,000 or less, including “small consumer loans” of
$4,000 or less. 205 ILL. COMP. STAT. §§ 670/1, 670/15(b). Lenders cannot charge more than 99%
interest, even if they are licensed. 205 ILL. COMP. STAT. §§ 670/15(b), 670/17.2(a)(1); see also 815
ILL. COMP. STAT. § 205/4(1). If an unlicensed lender makes a small consumer loan to an Illinois
consumer, “the loan shall be null and void and the person who made the loan shall have no right


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to collect, receive, or retain any principal, interest, or charges related to the loan.” 205 ILL. COMP.
STAT. § 670/20(d).

       96. Indiana. Under Indiana law, if a lender makes a consumer loan without first obtaining
a license, “the loan is void and the debtor is not obligated to pay either the principal or loan finance
charge.” Ind. Code §§ 24-4.5-3-502(3), 24-4.5-5-202.
       97. Kansas. A lender must be licensed to engage in the business of making supervised
consumer loans. Kan. Stat. Ann. § 16a-2-301(1). If an unlicensed lender makes such a loan,
the loan is void and uncollectible. Kan. Stat. Ann. § 16a-5-201(2).
       98. Maryland. The interest rate charged to a Maryland borrower may not exceed 33
percent per year. Md. Code, Com. Law § 12–306(a)(6)(i), 12–313(a)(1), 12–314(a), 12–314(c).
If the interest or fees exceed this amount, the loan is unenforceable, and the lender may not receive
or retain any principal, interest, or other compensation for the loan. Md. Code, Com. Law
§ 12–314(b). It is also illegal to attempt to collect principal or interest on a loan that was made by
an unlicensed lender. Md. Code, Fin. Institutions Law § 11–204; Md. Code, Com
Law § 12–302; see also Md. Collection Agency Licensing Bd., Advisory Notice, Unlicensed
Consumer Loan and Prohibited “Payday” Loan Collection Activity (July 20, 2009).
       99. Massachusetts. In Massachusetts, for loans by an unlicensed lender for $6,000 or less
where the interest and expenses on the loan exceed 12 percent per year, the lender (or subsequent
purchaser of the loan) has no right to collect money for repayment of the loan, including its
principal. Mass. Gen. Laws ch. 140, §§ 96, 103, 110; Mass. Gen. Laws ch. 209, § 26.01;
Mass. Gen. Laws ch. 271, § 49. Any loan made by an unlicensed lender in violation of
Massachusetts law is void. Mass. Gen. Laws ch. 140, §§ 96, 110.
       100. Montana. A lender must be licensed to engage in the business of making consumer
loans. Mont Code. Ann. § 32-5-201(1). If an unlicensed lender makes such a loan, the loan is
void, and the lender “does not have the right to collect, receive, or retain any principal, interest,
fees, or other charges.” Mont. Code Ann. § 32-5-103(4).




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        101. New Jersey. New Jersey law requires that all consumer lenders be licensed in the state.
N.J. Stat. Ann. § 17:11C-3(a). A loan made without the requisite license is void, and “the

lender shall have no right to collect or receive any principal, interest or charges.” N.J. Stat.
Ann. § 17:11C-33(b).
        102. New York. New York prohibits any person or corporation not licensed by the state of
New York from charging, taking, or receiving any interest at a rate exceeding annual interest of 16%
on covered loans. N.Y. Gen. Oblig. Law § 5-501; N.Y. Banking Law § 14-a(1). Loans
that exceed the maximum allowable interest rate are void. N.Y. Gen. Oblig. Law § 5-511;
N.Y. BANKING LAW § 356; see also Szerdahelyi v. Harris, 490 N.E.2d 517, 522-23 (N.Y. 1986)
(“[A] usurious transaction is void ab initio . . .”).
        103. North Carolina. In North Carolina, the maximum legal rate of interest may not exceed
36 percent. N.C. Gen. Stat. §§ 53-173, 53-176(a). Additionally, lenders must be licensed by the
state to make loans of $15,000 or less. N.C. Gen. Stat. §§ 53-166(a). Loans that violate these
provisions are void, and the lender has no right to collect, receive, or retain any principal, interest,
or other charges. N.C. Gen. Stat. § 53-166(d).
        104. Ohio. In Ohio, no person shall engage in the business of lending money in the amount
of $5,000 or less without first having obtained a license. Ohio Rev. Code Ann. § 1321.02. Any
loan made without the requisite license is void, and “the lender has no right to collect, receive or
retain any principal, interest or charges.” Ohio Rev. Code Ann. § 1321.02.
        105. Oregon. Under Oregon law, a lender must be licensed to make a loan of $50,000 or
less, unless the annual interest rate does not exceed the greater of 12 percent or five percent in
excess of the discount rate. Or. Rev. Stat. §§ 82.010, 725.045; see also Or. Rev. Stat.
§ 725A.020(2) (license requirement for payday loan). Any loan made without the requisite license
is void, and the lender has no right to collect, receive or retain any principal or interest. Or. Rev.
Stat. § 725.045(1)(b).
        106. Vermont. Vermont imposes a tiered set of interest-rate limits, dependent on the
amount of the consumer loan – 24 percent on the first $1,000 and 12 percent on the remainder, or


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18 percent, whichever rate is greater. Vt. Stat. Ann. tit. 8, § 2230. Additionally, lenders must
be licensed by the state to make loans. Vt. Stat. Ann. tit. 8, § 2201. Loans that violate these

provisions are void, and the lender has no right to collect on the loan. Vt. Stat. Ann. tit. 8,
§ 2215(d)(1).
       107. Virginia. In Virginia, a person may not charge an annual interest rate exceeding 12
percent without first obtaining a consumer finance license from the Commonwealth Va. Code
§§ 6.2-1501(A), 6.2-303(A). It is illegal for an unlicensed lender or its affiliated entities to collect
or receive any principal, interest, or charges on a loan with interest in excess of 12 percent; such
agreements are void ab initio under Virginia law. Va. Code § 6.2-1541(A) (“A loan contract shall
be void if any act has been done in the making or collection thereof that violates § 6.2-1501.”).
       108. West Virginia. Under West Virginia law, a lender must be licensed to make a loan at
an interest rate that exceeds 18 percent interest. W.Va. Code §§ 46A-1-102(38), 46A-4-101.
Any loan made without the requisite license is void, and the lender has no right to collect, receive
or retain any principal or interest. W.Va. Code § 46A-5-101(2).
       109. The Payday Lenders charge interest rates far in excess of 36 percent on all of their loans
and are not licensed to extend loans in the Included States. Thus, in the Included States – Arizona,
Arkansas, Florida, Georgia, Illinois, Indiana, Kansas, Maryland, Massachusetts, Montana, New
Jersey, New York, North Carolina, Ohio, Oregon, Vermont, Virginia, and West Virginia – the
Payday Lenders’ loans are void and uncollectible as a matter of clearly established law.

   E. Congress Regulates the Reporting of Adverse Information to Protect Consumers

       110. In enacting the FCRA, Congress has determined that consumers’ rights to have
truthful information reported about their financial affairs—which has long been protected by the
common-law torts of libel, defamation, and slander—merits additional, stricter statutory
protections in the credit-reporting context. A person’s reputation as reflected in his or her credit
report is vitally important to participating in the central activities of life in the United States.
Employers, lenders, and landlords use consumer reports to screen applicants, borrowers, and



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tenants. Inaccurate, adverse, or derogatory information on a credit report invades consumers’
statutory reputational rights and puts consumers at risk of being denied a job, credit, housing, or

access to other means by which to live; of paying more than they otherwise would for credit or
insurance; or of paying money they do not owe in order to avoid negative information appearing
on their credit reports.
       111. A “consumer” is defined in the FCRA as “an individual.” 15 U.S.C. § 1681a(c). A
“consumer report” is defined in the FCRA as “any written, oral, or other communication of any
information by a consumer reporting agency bearing on a consumer’s credit worthiness, credit
standing, credit capacity, character, general reputation, personal characteristics, or mode of living
which is used or expected to be used or collected in whole or in part for the purpose of serving as a
factor in establishing the consumers eligibility for... credit.” 15 U.S.C. § 1681a(d).
       112. A consumer reporting agency is any person which, for monetary fees, dues, or on a
cooperative nonprofit basis, regularly engages in whole or in part in the practice of assembling or
evaluating consumer credit information or other information on consumers for the purpose of
furnishing consumer reports to third parties, and which uses any means or facility of interstate
commerce for the purpose of preparing or furnishing consumer reports. 15 U.S.C. §1681a(f).
       113. Recognizing that the content of consumer reports can have a significant impact on
people’s lives, Congress has chosen to regulate the procurement, use, and content of those reports
through the FCRA, 15 U.S.C. §§ 1681a, et seq.
       114. The FCRA is intended “to protect consumers from the transmission of inaccurate
information about them, and to establish credit reporting practices that utilize accurate, relevant,
and current information in a confidential and responsible manner.” Cortez v. Trans Union LLC,
617 F.3d 688, 706 (3d Cir. 2010).
       115. To achieve its goals, Congress has required that CRAs “follow reasonable
procedures” … “to assure maximum possible accuracy of the information concerning the
individual about whom the report relates.” 15 U.S.C. § 1681e(b).




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   F. The Class and Subclasses

       116. Plaintiffs bring this action on their own behalf and as a class action pursuant to Federal
Rule of Civil Procedure 23 for the following Class and Subclasses:

               Class:

               All persons residing in Arizona, Arkansas, Florida, Georgia, Illinois,
               Indiana, Kansas, Maryland, Massachusetts, Montana, New Jersey,
               New York, North Carolina, Ohio, Oregon, Vermont, Virginia, and
               West Virginia (the “Included States”), who took out a purported
               loan from either or both Plain Green, LLC and/or Great Plains
               Lending, LLC (“the Payday Lenders”) for $3,000 or less and have
               had a consumer report prepared by TransUnion during the past five
               years in which TransUnion reported that there was a balance due to
               either or both of the Payday Lenders.

               Past Due Subclass:

               All persons residing in the Included States who took out a purported
               loan from either or both of the Payday Lenders for $3,000 or less and
               have had a consumer report prepared by TransUnion during the past
               five years in which TransUnion reported that an amount was past
               due to either or both of the Payday Lenders.

               Reinvestigation Subclass:

               All persons residing in the Included States (1) who took out a
               purported loan from the Payday Lenders for $3,000 or less, (2) who
               have had a consumer report prepared by TransUnion during the past
               five years in which TransUnion reported that there was a balance
               due to either or both of the Payday Lenders, (3) who sent a dispute
               letter to TransUnion regarding its reporting of a balance due to the
               Payday Lenders, and (4) whose consumer reports prepared by
               TransUnion continued to include the disputed information after 30
               days from the date that TransUnion received the dispute letter.

Excluded from the Class and Subclasses are any employees, officers, or directors of TransUnion,
any attorneys appearing in this case, and any judges assigned to hear this case as well as their
immediate family and staff.
       117. Ascertainability. The Class, Past Due Subclass, and Reinvestigation Subclass are
ascertainable in that they comprise individuals who can be identified by reference to purely


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objective criteria, including information from consumer report files in TransUnion’s business
records. The relevant information to determine Class and Subclass membership includes (1) all

consumer credit reports that indicate a balance due on a purported loan from the Payday Lenders;
(2) all consumer reports that indicate amounts were past due from one or both of the Payday
Lenders; (3) all consumer files containing a dispute letter contesting the illegal and void debt to
Great Plains or Plain Green; and (4) the addresses of the subject consumers. Notice may be mailed
to Class and Subclass members using the information in TransUnion’s files, as updated through
the National Change of Address Registry and other commercially available means.
        118. Numerosity. The Class and Subclasses are so numerous that joinder of all members is
impracticable. Although the precise number of Class and Subclass members is not currently
known, the large numbers of people who have been the victims of high-interest, illegal loans by the
Payday Lenders, and the near-ubiquity of TransUnion’s credit reporting in American commercial
life, including its use by employers, landlords, and lenders of all kinds throughout the United
States, shows that the Class and Subclasses likely consist of at least thousands of persons and,
therefore, it would be impracticable to bring all these persons before the Court as individual
plaintiffs.
        119. Typicality. Plaintiff Joseph Denan’s claims are typical of the claims of each member
of the Class, Past Due Subclass, and Reinvestigation Subclass he seeks to represent, and Plaintiff
Adrienne Padgett’s claims are typical of the Class and Past Due Subclass. These claims all arise
from the same operative facts and are based on the same legal theories.
        120. Adequacy of Representation. Plaintiffs will fairly and adequately protect the interests
of the Class, Past Due Subclass, and Reinvestigation Subclass. Plaintiffs are committed to
vigorously litigating this matter, and their interests are aligned with those of the Class and
Subclasses whom they represent. Plaintiffs have retained counsel experienced in handling FCRA
and consumer class actions.
        121. Commonality and Predominance. Common issues of law and fact exist regarding
Plaintiffs and the Class members’ claims, including:


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               (a) whether the Payday Lenders are licensed lenders in the Included
                   States;

               (b) whether the Payday Lenders’ loans are void and uncollectible in the
                   Included States;

               (c) whether the Payday Lenders’ loans are extended at interest rates
                   that exceed the maximum legal rate in the Included States;

               (d) whether TransUnion violated 15 U.S.C. § 1681e(b) by reporting the
                   Payday Lenders’ loans on Class members’ consumer reports;

               (e) whether TransUnion violated 15 U.S.C. § 1681e(b) by reporting the
                   Payday Lenders’ loans were past due and/or owing on Class
                   members’ consumer reports;

               (f) whether TransUnion violated 15 U.S.C. § 1681i(a) by failing and/or
                   refusing to follow reasonable reinvestigation procedures for
                   ascertaining the accuracy of information pertaining to debts
                   purportedly owed to the Payday Lenders in Class members’
                   consumer reports; and

               (g) whether TransUnion’s violations were negligent, intentional,
                   willful, or malicious.
       122. Superiority. A class action is a superior method for the fair and efficient adjudication
of this controversy. The interest of Class and Subclass members in individually controlling the
prosecution of separate claims against TransUnion is small, as actual damages would be difficult
and expensive to prove and the maximum statutory damages recoverable by any one Class member

is limited to $1,000 under the FCRA. Management of the Class’s claims in a single proceeding will
avoid inconsistent judgments and result in a more efficient use of judicial resources than resolving
these same issues in many individual cases.
       123. Injunctive Relief Appropriate to the Class. Fed. R. Civ. P. 23(b)(2). This action
should also be maintained as a class action because TransUnion has acted or refused to act on
grounds that apply generally to the Class, so that final injunctive relief or corresponding declaratory
relief is appropriate respecting the Class as a whole.




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                                     VI. CAUSES OF ACTION
         Count One – Reporting of Illegal and Void Debts to Payday Lenders is a
                       Willful Violation of 15 U.S.C. § 1681e(b)

                                 (On behalf of Plaintiffs and the Class)

        124. Plaintiffs restate each of the allegations in the preceding paragraphs as if fully set forth
here.
        125. TransUnion is a “person” and a “consumer reporting agency” as those terms are
defined by 15 U.S.C. § 1681a(b) and (f).
        126. Plaintiffs and members of the Class are “consumers” as that term is defined by 15
U.S.C. § 1681a(c).
        127. The FCRA mandates that “[w]henever a consumer reporting agency prepares a
consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the
information concerning the individual about whom the report relates.” 15 U.S.C. § 1681e(b).
        128. TransUnion violated the FCRA, 15 U.S.C. § 1681e(b), by inaccurately reporting
balances due to the Payday Lenders on Class members’ consumer reports, despite the fact that

reasonable procedures designed to ensure the maximum possible accuracy of the information
would have shown that the Payday Lenders’ purported loans to the Class members were void and
uncollectible.
        129. TransUnion’s FCRA violations are willful because TransUnion knew or recklessly

ignored the clearly established law making the Payday Lenders’ loans void and uncollectible in the
Included States.
        130. It was objectively unreasonable for TransUnion to knowingly and/or recklessly report
this data in light of the clearly established state laws.
        131. TransUnion’s conduct has injured Plaintiffs and the Class members by depriving them
of their statutorily protected reputational rights and/or putting them at risk of being denied
employment, housing, insurance or credit; of paying more than they otherwise would for credit or
insurance; or of paying a debt they did not owe to avoid negative information appearing on their



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credit reports. The conduct, action, and inaction of TransUnion were willful, rendering it liable for
statutory and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n.
        132. Plaintiffs and other members of the Class are entitled to recover costs and attorneys’
fees as well as appropriate equitable relief in an amount to be determined by the Court pursuant to
15 U.S.C. § 1681n.

             Count Two – Reporting of Illegal and Void Debts as Past Due is a
                       Willful Violation of 15 U.S.C. § 1681e(b)
                           (On behalf of Plaintiffs and the Past Due Subclass)
        133. Plaintiffs restate each of the allegations in the preceding paragraphs as if fully set forth
here.
        134. TransUnion violated the FCRA, 15 U.S.C. § 1681e(b), by inaccurately reporting
amounts as past due and/or owing to the Payday Lenders on the Past Due Subclass members’
consumer reports, despite the fact that reasonable procedures designed to ensure the maximum

possible accuracy of the information would have shown that the Payday Lenders’ purported loans
to the Subclass members were void and uncollectible.
        135. TransUnion’s FCRA violations are willful because TransUnion knew of or recklessly
ignored the clearly established law making the Payday Lenders’ loans void and uncollectible in the

Included States.
        136. It was objectively unreasonable for TransUnion to knowingly and/or recklessly report
this data in light of clearly-established state laws.
        137. TransUnion’s conduct has injured Plaintiffs and the Past Due Subclass members by
depriving them of their statutorily protected reputational rights and/or putting them at risk of
being denied employment, housing, insurance or credit; of paying more than they otherwise would
for credit or insurance; or of paying a debt they did not owe to avoid negative information appearing
on their credit reports. The conduct, action, and inaction of TransUnion were willful, rendering it




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liable for statutory and punitive damages in an amount to be determined by the Court pursuant to
15 U.S.C. § 1681n.

        138. Plaintiffs and other members of the Past Due Subclass are entitled to recover costs and
attorneys’ fees as well as appropriate equitable relief in an amount to be determined by the Court
pursuant to 15 U.S.C. § 1681n.


              Count Three – Willful Violation of 15 U.S.C. § 1681i(a)
        (On behalf of Plaintiff Joseph Denan and the Reinvestigation Subclass)
        139. Plaintiffs restate each of the allegations in the preceding paragraphs as if fully set forth
here.
        140. In violation of the FCRA, 15 U.S.C. § 1681i(a), TransUnion has failed to use
reasonable reinvestigation practices for ascertaining the accuracy of information relating to
Plaintiff Joseph Denan’s and the Reinvestigation Subclass’s illegal and void debts to the Payday
Lenders.
        141. As a result of TransUnion’s failure to conduct reasonable reinvestigations in
accordance with the requirements of 15 U.S.C. § 1681i(a), TransUnion has continued to
inaccurately report the illegal and void debts of Plaintiff Joseph Denan and the Reinvestigation
Subclass, after having been notified that they are disputing that information.
        142. TransUnion’s failure to comply with the requirements of 15 U.S.C. § 1681i(a) is willful
within the meaning of 15 U.S.C. § 1681n(a), rendering it liable for statutory and punitive damages
in an amount to be determined by the Court.
        143. Plaintiff Joseph Denan and other members of the Reinvestigation Subclass are entitled
to recover costs and attorneys’ fees as well as appropriate equitable relief in an amount to be
determined by the Court pursuant to 15 U.S.C. § 1681n.

                                VII. CONCLUSION AND PRAYER

        144. Wherefore, Plaintiffs Joseph Denan and Adrienne Padgett, individually and on behalf
of others similarly situated, pray for judgment ordering relief as follows:



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               (a) certifying the Class, Past Due Subclass, and Reinvestigation
                   Subclass pursuant to Federal Rule of Civil Procedure 23(b)(3)
                   and/or 23(b)(2);

               (b) appointing Plaintiffs to represent the Class and the Past Due
                   Subclass;

               (c) appointing Mr. Denan to represent the Reinvestigation Subclass;

               (d) appointing Plaintiffs’ counsel as Class Counsel;

               (e) declaring that TransUnion is financially responsible for notifying all
                   Class members about this suit;

               (f) enjoining TransUnion from further violations of 15 U.S.C.
                   § 1681e(b);

               (g) finding that TransUnion’s violations of 15 U.S.C. § 1681e(b) were
                   willful;

               (h) finding that TransUnion’s violations of 15 U.S.C. § 1681i(a) were
                   willful;

               (i) awarding Plaintiffs and the Class and Subclass members actual
                   damages pursuant to 15 U.S.C. § 1681o, punitive damages,
                   consequential damages, and statutory damages pursuant to 15
                   U.S.C. § 1681n;

               (j) awarding Plaintiffs and the Class and Subclass members pre-
                   judgment and post-judgment interest;

               (k) awarding Plaintiffs and the Class and Subclass members reasonable
                   attorneys’ fees, expenses, and costs of suit, pursuant to 15 U.S.C.
                   § 1681n and 15 U.S.C. § 1681o(a)(2), the common fund theory, or
                   any other applicable statute, theory, or contract;

               (l) granting leave to amend the Complaint to conform to the evidence
                   produced at trial; and

               (m)awarding such other relief as this Court may deem just and proper.

                               VIII. DEMAND FOR JURY TRIAL

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs, Joseph Denan and Adrienne
Padgett, demand a trial by jury on all claims so triable.



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Dated: July 23, 2018                                    Respectfully submitted,

                                                        /s/ Michael A. Caddell
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